Case 2:01-cV-02647-.]DB-STA Document 123 Filed 05/05/05 Page 1 of 2 Page|D 198

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

CLARENCE NEVILLES,

 

Plaintiff,
v. NO. 01-2647-B/An
LOUIS MITCHELL,

Defendants .

 

ORDER

 

This court, having been advised by counsel for the parties that settlement has been
reached on all matters in this case, directs that this action be DISMISSED. Furthermore, any
pending motions are DENIED as moot and all proceedings currently set before the court are
removed from the court’s calendar.

The dismissal granted herein shall be Without prejudice for a period of 30 days from the
entry of this order, If settlement is not consummated Within that 30 day period, the parties may
reopen this action upon motion approved by the court. Should the parties fail to move to reopen
the case within the prescribed period, the matter shall, without further order, stand dismissed
M prejudice.

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IT IS SO ORDERED this 5 day of May, 2005.

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. DANIEL BREEN \
NIT sTATEs DISTRICT JUDGE

Thl's document entered on the docketfsne tin compliance
with'Flu!e 58 and/or 79(3) FHCP on J’Ez 1262

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 123 in
case 2:0]-CV-02647 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

